                     IN THE UNITED STATES BANKRUPTCY COURT
                              Southern District of Alabama
In the Matter of:                              )
                                               )       Case No. 18-03104
WESTBROOK, William A.                          )
    Debtor.                                    )
                                               )


                                 ADVERSARY PROCEEDING


William A. Westbrook,                          )
       Plaintiff,                              )
                                               )
       v.                                      )       Adv. Proc. Case No.
                                               )
Advance America,                               )
      Defendant.                               )

                                           COMPLAINT

        COMES NOW, Plaintiff, William A. Westbrook, by and through their undersigned
 counsel, and presents this Complaint for Violation of Automatic Stay and Creditor Misconduct
 against Defendant, Advance America stating as follows:

                                        INTRODUCTION

1. This is a Complaint for damages resulting from Defendant's intentional and willful violations
   of the automatic stay afforded by 11 U.S.C. § 362;

                                 JURISDICTION AND VENUE

2. This Court has jurisdiction over the parties to this action and over the subject matter of this
   action pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding.

3. Venue is proper in the United States Bankruptcy Court for the Southern District of
Alabama pursuant to 28 U.S.C. §§ 1391 and 1409, as the claims arise from a bankruptcy case in
this District, Defendant transacts business in this District, and Plaintiff resides in this District.




                                             PARTIES



  Case 18-00060        Doc 1     Filed 11/16/18 Entered 11/16/18 19:25:10              Desc Main
                                    Document    Page 1 of 5
4. Plaintiff, William A. Westbrook, is an individual over the age of nineteen, residing in Pine
Hill, Wilcox County, Alabama. Plaintiff is a "consumer" pursuant to the definition provided
within 15 U.S.C. § 1692(a)(3).

5. Defendant, Advance America, is a Domestic Company, and has a principal place of business
in Clark County, Alabama. The Defendant is a Creditor in the underlying bankruptcy case.


                                 FACTUAL ALLEGATIONS

6. On August 2, 2018, Plaintiff filed a Voluntary Petition for Relief under Chapter 13, Title 11,
of the United States Bankruptcy Code, in the United States Bankruptcy Court for the Southern
District of Alabama. Case No. 18-03104.

7. On August 23, 2018, Mr. Westbrook contacted Advance America regarding funds that were
withdrawn from his checking account. At that time Advance America was made aware of the
bankruptcy case filing date. The Defendant would not accept the Plaintiffs case number.

8. On October 10, 2018, The Sellers Law Firm contacted Advance America regarding the funds
that were withdrawn from debtors account August 23, 2018. At that time the representative,
Rachel, stated the manager was on vacation and she would have her return our call on October
13, 2018 when she returned to work.

9. On October 29, 2018, the Plaintiff called the Defendant and asked the status of his refund.
The Defendant refused to provide him with any information.

10. On October 29, 2018, The Sellers Law Firm contacted Advance America regarding the status
of the refund. At that time the representative, stated that the request had been sent to the
corporate office and it was just a waiting game. After asking for a manager and a corporate
office phone number we were informed that the staff is not permitted to give out the corporate
office phone number. The representative for Advance America stated she would call the
manager and have her return our call.

11. On October 30, 2018, The Sellers Law Firm contacted Advance America regarding the status
of the refund. After speaking with Crystal, Regional Manager, a Notice of Filing was faxed to
her attention. Crystal stated she would forward the necessary paperwork to the corporate office
and they would refund the money within 24 hours.

12. On November 5, 2018, The Sellers Law Firm contacted Advance America regarding the
status of the refund. After speaking with Crystal, Regional Manager, we were informed we had
to fax a letter requesting a refund. Once the letter was received a refund would be processed.
The Sellers Law Firm faxed the requested letter on November 5, 2018.




  Case 18-00060        Doc 1    Filed 11/16/18 Entered 11/16/18 19:25:10            Desc Main
                                   Document    Page 2 of 5
13. On November 13, 2018, The Sellers Law Firm contacted Advance America regarding the
status of the refund. Advance America stated the Regional Manager was not in the office but she
would have her return our call.

14. On November 13, 2018, The Sellers Law Firm contacted Advance America regarding the
status of the refund. Advance America stated the Regional Manager was not in the office but she
would have her return our call.

15. On November 16, 2018, The Sellers Law Firm spoke Advance America, regarding the status
of the refund. Crystal, Regional Manager stated she had not received the letter requested on
November 5, 2018. Crystal stated once the letter was received she would forward it to the
corporate office; the Manager was to release the funds for the Plaintiff. The Sellers Law Firm
was informed that Heather was a manager at the Regional Office and that Heather was in fact in
the office today and would process the return as soon as the letter was faxed. Sellers Law Firm
was on the telephone with Crystal as the letter was faxed. Crystal confirmed that the fax had
been received.

16. On November 16, 2018, The Sellers Law Firm spoke Advance America at 4:30 p.m.,
regarding the status of the refund. Crystal, Regional Manager stated had not received
confirmation from the manager Heather to release the funds. Crystal informed Sellers Law Firm
that Heather had not been in the office all day and that they have procedures in place for
refunding money. Crystal stated she was not able to refund the money to Mr. Westbrook today.

Count I -Willful Violations of Automatic Stay Under 11 U.S.C. § 362 for Collection of
Funds

17. Plaintiff re-alleges the matters set forth in Paragraphs 1 through 16, as if set out fully herein.
Despite Plaintiff's filing of bankruptcy, Defendant willfully sought collection on Plaintiff's debt
by seeking garnishment of funds.

18. Defendant's violation of the automatic stay was intentional and willful, in that Defendant
committed such acts, i.e., receiving garnishment proceeds, after it had received notice of the
underlying bankruptcy case.

19. Because of Defendant's knowledge and subsequent disregard of Plaintiffs bankruptcy case,
Defendant's conduct rises to the level of willfulness and has interfered with Plaintiff's rights
afforded to her by the Bankruptcy Code.

20. Defendant's collection efforts have injured Plaintiff, causing emotional distress and mental
anguish, and have deprived Plaintiff of the benefit of her bankruptcy remedy.

21. Defendant's conduct violates 11 U.S.C. § 362. Plaintiff submits that the facts of this case
establish "appropriate circumstances" to support and award of punitive damages.




  Case 18-00060        Doc 1     Filed 11/16/18 Entered 11/16/18 19:25:10             Desc Main
                                    Document    Page 3 of 5
       WHEREFORE, the Plaintiff demands judgment against the Defendant, for such sum of
compensatory damages as the court to be just and reasonable, punitive damages, court costs, and
such further and different relief as justice requires.




                                   PRAYER FOR RELIEF

     WHEREFORE, premises considered, Plaintiff requests a judgement against Defendant,
  declaring, inter alia:


  1. That Defendant has violated the automatic stay imposed by this Court;

  2. That such violation occurred with knowledge of the underlying bankruptcy case;

  3. That such violation occurred with wanton disregard of Plaintiffs bankruptcy rights;

  4. That such violation was willful;

  5. That the Defendant’s conduct has risen to meet the level of the elements of outrage;

  6. Plaintiff an award of compensatory damages, punitive damages, including costs and
     attorney fees, in an amount this Court deems just and equitable;

  7. That "appropriate circumstances" exist for an award of punitive damages in an amount
     deemed just and equitable by this Court; and

  8. Any such other and further relief as this Court deems proper.


RESPECTFULLY SUBMITTED, on this the 16th day of November, 2018.

                                           /s/ C. Brandon Sellers, III
                                           C. Brandon Sellers, III (SEL029)
                                           Attorney for Plaintiff
OF COUNSEL:
Sellers Law Firm, LLC
P.O. Box 432
Greenville. Alabama 36037
Tel. (334) 382-6907
Fac. (334) 382-7001




  Case 18-00060       Doc 1    Filed 11/16/18 Entered 11/16/18 19:25:10          Desc Main
                                  Document    Page 4 of 5
                                Certificate of Service

  I hereby certify that I have served a copy of the foregoing on the parties listed below
  electronically and/or by placing a copy of the same in the U.S. mail, postage prepaid and
  properly addressed, on this the 16th day of November, 2018.


Daniel B. O'Brien
Chapter 13 Trustee
P.O. Box 1884
Mobile, AL 36633

Advance America
33206 Hwy 43 N
Thomasville AL 36784
                                      /s/ C. Brandon Sellers, III
                                      C. Brandon Sellers, III (SEL029)




Case 18-00060        Doc 1   Filed 11/16/18 Entered 11/16/18 19:25:10          Desc Main
                                Document    Page 5 of 5
